Order Form (01/2005)
                       Case: 1:12-cv-08305 Document #: 20 Filed: 01/09/13 Page 1 of 1 PageID #:229

                               United States District Court, Northern District of Illinois

    Name of Assigned Judge          Harry D. Leinenweber      Sitting Judge if Other
       or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                           12 C 8305                        DATE                       1/9/2013
            CASE                                            Plummer vs. Atchison
            TITLE

  DOCKET ENTRY TEXT

  Petitioner’s motion to withdraw his habeas petition [15] due to developments in state court is granted. The
  petition for habeas is dismissed without prejudice.




                                                                                                             Docketing to mail notices.




                                                                                       Courtroom Deputy                 WAP
                                                                                                 Initials:




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